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                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION



 CRIMINAL NO. 08-50075-001                USA v. JUAN CARRILLO

 COURT PERSONNEL:                         APPEARANCES:

 Judge: JIMM LARRY HENDREN                Govt. KENNY ELSER

 Clerk: GAIL GARNER                       Deft. JACK KEARNEY/JOEL HUGGINS

 Reporter: THERESA SAWYER                 Int: MARIA ABDIN (STANDBY)


                          SENTENCING MINUTE SHEET


      On this date the above named defendant appeared in person and
 with counsel for sentencing and is sworn.

       (X)    Inquiry made that defendant is not under influence of
              alcohol or drugs and is able to comprehend proceedings.
       (X)   Inquiry made whether defendant is under the care of a
              physician or taking any medication and is able to
              comprehend proceedings.
       (X)    Inquiry made that defendant is satisfied with counsel.
       (X)    Court determined that defendant and counsel have had
              opportunity to read and discuss presentence investigation
              report.
       (X)   Presentence investigation report reviewed in open court.
       (X)    Government moves for downward departure pursuant to
              5K1.1 - granted as stated.
       (X)    Court expresses final approval of plea agreement.
       (X)    Counsel for defendant afforded opportunity to speak on
              behalf of defendant.
       (X)    Defendant afforded opportunity to make statement and
              present information in mitigation of sentence.
       (X)    Attorney for government afforded opportunity to make
              statement to court.
       (X)    Court proceeded to impose sentence as follows:

             240 months imprisonment; 3 years supervised release;
             $50,000.00 fine - interest waived.
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 Criminal No. 08-50075-001


       (X)   Defendant ordered to comply with standard conditions
             of supervised release.
       (X)   Defendant ordered to pay total special assessment of
             $100.00, for count 2, which shall be due immediately.
       (X)   Counts 1, 3, 4 and 8 and criminal forfeiture allegation
             dismissed on motion by the government.
       (X)   Defendant advised of right to appeal sentence imposed.
       (X)   Defendant advised of right to apply for leave to appeal
             in forma pauperis.
       (X)   Appeal packet provided.
       (X)   Defendant remanded to custody of USMS.



 DATE: SEPTEMBER 3, 2009                  Proceeding began: 8:47 am

                                                         ended:10:36 am
